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  8                         UNITED STATES DISTRICT COURT
  9                       CENTRAL DISTRICT OF CALIFORNIA
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       SOVEREIGN PEAK VENTURES,                CASE NO. 2:18-cv-10069-AB-JPR
 11    LLC
                                                   [PROPOSED] ORDER GRANTING
 12                Plaintiff,                      JOINT STIPULATION TO EXTEND
 13          v.                                    TIME TO RESPOND TO
                                                   COMPLAINT
 14    FEIT ELECTRIC COMPANY,
       INC.,
 15                                                Complaint Served: 12/5/18
                                                   Current Response Date: 2/21/19
 16                Defendant.                      New Response Date: 3/25/19
 17
 18         For good cause, the Court hereby GRANTS the parties’ Joint Stipulation to
 19   Extend Time to Respond to Complaint. Accordingly, Defendant Feit Electric
 20   Company, Inc. shall have until March 25, 2019 to respond to the Complaint.
 21         IT IS SO ORDERED.
 22
 23   Dated: February 26, 2019             _____________________________
                                           Honorable Andre Birotte Jr.
 24
                                           UNITED STATES DISTRICT JUDGE
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                                    [PROPOSED] ORDER – CASE NO. 2:18-CV-10069
